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                                            United States Bankruptcy Court
                                             Southern District of New York


 In re: Lyondell Chemical Company                                                              Case No. 09-10023

                                                                                    Court ID (court use only)                         _

              NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

 A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 D.S.C. § 1111 (a). Transferee hereby gives notice
 pursuant to Rule 3001(e) (2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this notice.



 APS Capital Corp.                                                                  Mitsubishi Corporation
 Name of Transferee                                                                 Name of Transferor

 Name and Address where Notices to transferee                                       Name and current Address of transferor
 should be sent

 APS Capital Corp.                                                                  Mitsubishi Corporation
 1301 S. Capital of Texas Hwy.                                                      Attn. Hidecki Matsukawa
 Suite B220                                                                         3-1 Marunuouchi
 Attn. Kirk Ruddy                                                                   2-Chome Chiyoda-Ku
 Austin, Texas 78746                                                                Tokyo, Japan 100-8068

 Claim No. 178 for $1,933,797.69


                            I declare under penalty of perjury that the information provided in this notice
                                      is true and correct to the best of my knowledge and belief.




 By:                   ./s/Kirk Ruddy                  _                            Date:                March 23, 2010               _



 Penalty for making afalse statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 D.S.C.        § 152 & 3571.


                                 -DEADLINE TO OBJECT TO TRANSFER-
 The alleged transferor of the claim is hereby notified that objections must be filed with the court within
 twenty-one (21) days of the mailing of this notice. If no objection is timely received by the court, the
 transferee will be substituted as the original claimant without further order of the court.




 Date:                                                                              CLERK OF THE COURT
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                                 EVIDENCE OF TRANSFER OF CLAIM


       TO:    THE DEBTOR AND THE BANKRUPTCY COURT


                 For value received, the adequacy and sufficiency of which are hereby acknowledged,
       Mitsubishi Corporation ("Assignor") hereby unconditionally and irrevocably sells, transfers and
       assigns to the APS Capital Corp. (the "Assignee") (in the amounts set forth thereon, all right,
       title, interest, claims and causes of action in and to, or arising under or in connection with,
       Assignor's general unsecured claim (as such term is defmed in Section 101(5) of the U.S.
       Bankruptcy Code) against Lyondell Chemical Company .•the ("Debtor"), one of the debtors-in-
       possession in the chapter 11 reorganization case entitled, In re: Lyondell Chemical Company, et
      .al. Chapter 11 Case No09-10023 (REG) (Jointly Administered), pending in the United States
       Bankruptcy Court for the Southern District of New York (the "Bankruptcy Court"), in the
       amount of $1,933,797.69 (the "Claim").

               Assignor hereby waives any objection to the transfer of the Claim to Assignee on the
      books and records of the Debtor and the Bankruptcy Court, and hereby waives to the fullest
      extent permitted by law any notice or right to a hearing as may be prescribed by Rule 3001of the
      Federal Rules of Bankruptcy Procedure, the Bankruptcy Code, applicable local bankruptcy rules
      or applicable law. Assignor acknowledges and understands, and hereby stipulates, that an order
      of the Bankruptcy Court may be entered without further notice to Assignor transferring to
      Assignee the Claim and recognizing the Assignee as the sole owners and holders of the Claim.
      Assignor further directs each Debtor, the Bankruptcy Court, and all other interested parties that
      all further notices relating to the Claim, and all payments or distributions of money or property
      in respect of the Claim, shall be delivered or made to the Assignee.

           IN WITNESS WHEREOF, this EVIDENCE OF TRANSFER OF CLAIM IS
      EXECUIED TIllS 18 day of February, 2010


                                                      MITSUBISID CORPORATION


                                                   BY:~lr~
                                                   Name:                       M WMIJro
                                                   Title:    Geal!l'al Managef.11mgr.k~iilical laWR!leGiales Uljit
                                                                        Commodity Chemicals Div.
